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                                                                                    01/11/2018
                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF VIRGINIA
                                    CHARLOTTESVILLE DIVISION


  ELIZABETH SINES, ET AL.,                            CASE NO. 3:17-CV-00072
                                 Plaintiffs,
  v.                                                  ORDER
  JASON KESSLER, ET AL.,
                                                      JUDGE NORMAN K. MOON
                                 Defendants.



        This matter is before the Court on Kyle Chapman’s motion for an extension of time to

 reply to the complaint while he obtains counsel. (Dkt. 176). However, the plaintiffs in this case

 filed an amended complaint on January 5, 2018. (Dkt. 175). Fed. R. Civ. P. 15(a)(3) states:

 “[A]ny required response to an amended pleading must be made within the time remaining to

 respond to the original pleading or within 14 days after service of the amended pleading,

 whichever is later.” This rule provides Chapman with more time to respond, and so his motion,

 (dkt. 176), is DENIED as moot.

        It is so ORDERED. The Clerk of the Court is hereby directed to send a certified copy of

 this Order to Plaintiffs, Defendants, and all counsel of record.
                      11th day of January, 2018.
        Entered this _____
